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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

VIBES MEDIA, LLC,

              Plaintiff,                       Case No.: 1:18-cv-04910

       v.
                                               JURY TRIAL DEMANDED
KKW FRAGRANCE, LLC,

              Defendant.


                                       COMPLAINT

       Plaintiff Vibes Media, LLC (“Plaintiff” or “Vibes”), by its attorneys, as and for its

Complaint against Defendant KKW Fragrance, LLC (“Defendant” or “KKW Fragrance”) alleges

as follows:

                                 NATURE OF THE CASE

       1.     This is a civil action for (1) trademark infringement in violation of the Lanham

Act, 15 U.S.C. § 1114; (2) unfair competition in violation of the Lanham Act, 15 U.S.C. §

1125(a); and (3) unfair competition under Illinois common law. Vibes brings this action to

protect one of its most valuable assets, namely, the goodwill and consumer recognition

associated with its trademarked logo (the “Registered Vibes Logo”), which Vibes as used

continuously in commerce since January 2011:
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       2.        Plaintiff owns a federal trademark registration for the Registered Vibes Logo. A

true and correct copy of the federal trademark registration certificate (i.e., Reg. No. 4,352,618,

referred to herein as the “Vibes Registration” or “the ‘618 Registration”) for the Registered

Vibes Logo is attached hereto as Exhibit A.

                                            PARTIES

       3.        Vibes Media, LLC is a Delaware Limited Liability Company having its principal

place of business at 300 W. Adams Street, 7th Floor, Chicago, IL 60606.

       4.        KKW Fragrance, LLC is a California Limited Liability Company having a

principal place of business at 21731 Ventura Blvd., Suite 300, Woodland Hills, CA 91364.

                                 JURISDICTION AND VENUE

       5.        This Court has original subject matter jurisdiction over Plaintiff’s Lanham Act

claims, pursuant to 15 U.S.C. § 1121, 28 U.S.C. § 1331, and 28 U.S.C. § 1338(a). This Court

has supplemental jurisdiction over Plaintiff’s related state and common law claims under 28

U.S.C. § 1367.

       6.        This Court has personal jurisdiction over Defendant because Defendant is

engaging in various activities within this State and this District, including offering for sale and

advertising its accused products in this District. The consequences of Defendant’s actions

produce effects in and directly implicate this forum.

       7.        Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to this claim occurred within this District and because

Defendant’s acts of infringement are causing harm in this District.




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                                  FACTUAL BACKGROUND

                                        Vibes Media, LLC

       8.      Founded in 1998, Vibes Media, LLC is a leader in the field of mobile marketing,

and helps its customers increase revenue and engagement using technology. In particular, Vibes

is well-known for products and services that allow their customers to manage their mobile

marketing communications, such as through text-message-based marketing solutions, mobile

wallet campaigns (e.g. marketing using Apple Passbook and Google Wallet), and other

innovations.

       9.      As part of its promotion and goodwill development, and in order to protect the

source-identifying marks Vibes has developed, Vibes has applied for and received numerous

active federal trademark registrations, including, but not limited to the Vibes Registration.

                                         The Vibes Logo

       10.     For many years, Vibes has promoted, marketed, and offered its products and

services in interstate commerce using the Registered Vibes Logo.

       11.     In an effort to promote its brand recognition and protect its valuable goodwill,

Vibes filed a trademark application for its Registered Vibes Logo on April 23, 2012, with a date

of first use of January 2011.      The Vibes Registration issued under Registration Number

4,352,618 on June 18, 2013 for “IC 042: Application service provider, namely, hosting,

managing, developing, and maintaining applications, software and websites in the field of

disseminating advertising and marketing materials for others, for wireless delivery of content to

handheld computers, laptops and mobile electronic devices.” See Exhibit A.

       12.     Since at least as early as January 2011, Vibes has continuously used its Registered

Vibes Logo in interstate commerce in connection with services throughout the United States.




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       13.       For example, the Registered Vibes Logo is prominently displayed in the front

lobby of Vibes’ headquarters in Chicago, IL.          Vibes’ customers and potential customers

frequently visit the Chicago headquarters and are met with the following display:




       14.       The Registered Vibes Logo is distinctive.

       15.       As provided by 15 U.S.C. § 1115(a), Vibes’ federal registration of the Registered

Vibes Logo serves as “prima facie evidence of the validity of the registered mark and of the

registration of the mark, of the registrant’s ownership of the mark, and of the registrant’s

exclusive right to use the registered mark in commerce on or in connection with the goods or

services specified in the registration.”

       16.       On July 18, 2018, Vibes filed a Declaration of Incontestability pursuant to 15

U.S.C. § 1065.




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       17.     Pursuant to 15 U.S.C. § 1065, the right of incontestability vests as of the date of

filing of a Declaration of Incontestability under the Lanham Act.        Accordingly, the Vibes

Registration is incontestable as of July 18, 2018.

       18.     Vibes recently began to adopt a slightly modified version of its Registered Vibes

Logo, as shown in two variants below (referred to herein as the “Updated Vibes Logo”).




       19.     The Updated Vibes Logo is nearly identical to the Registered Vibes Logo but

features a slightly modified font style.

       20.     The Updated Vibes Logo creates a continuing commercial impression with the

Registered Vibes Logo and is the legal equivalent of the Registered Vibes Logo.

                          Defendant’s Infringing and Unfair Conduct

       21.     Defendant owns and operates a website at www.kkwfragrance.com, where it

promotes and sells various personal fragrance products (i.e. perfumes) under multiple product

groups, including the “KKW Kimoji” line.

       22.     On information and belief, the KKW Fragrance brand is affiliated with Kim

Kardashian West.

       23.     Defendant markets its products through social media channels, including through

Instagram (username: @kkwfragrance) and Twitter (username: @kkwfragrance).

       24.     Relevant here, Defendant KKW Fragrance released its new KKW Kimoji line on

July 17, 2018. See Exhibit B, Harper’s Bazaar article. The KKW Kimoji line features three

products: Vibes, Peachy, and Cherry.



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       25.     In particular, Defendant has been marketing, promoting, and is now selling a

“Vibes” perfume. The “Vibes” perfume comes in a bottle that is a close facsimile of the

Registered Vibes Logo (the design of which is referred to herein as the “Infringing Bottle”):




See Exhibit C, printout from https://kkwfragrance.com/products/kimoji-vibes




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      26.     Defendant has also used a logo that is a close facsimile of the Registered Vibes

Logo to promote the Vibes perfume on social media (referred to herein as the “Infringing

Logo”):




See Exhibit D, printout of https://twitter.com/KKWFRAGRANCE/status/1015271619156045824




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       27.     Furthermore, in addition to being packaged in the Infringing Bottle, the Vibes

perfume, is further placed inside a box that is emblazoned with the Infringing Logo:




See Exhibit E, Printout of https://twitter.com/kkwbeauty/status/1018220555986710529.

       28.     There is a strong likelihood that consumers will be confused into believing that

Defendant’s Vibes perfume is Plaintiff’s product or that it is authorized, endorsed, sponsored, or

approved by Plaintiff.

       29.     Alternatively, due to Defendant’s affiliation with high-profile celebrities (i.e., the

Kardashians), it is highly likely that consumers will view Plaintiff’s products as somehow being

affiliated with Defendant – in other words, there is a high likelihood of reverse confusion as a

result of Defendant’s use of such a confusingly similar logo.




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        30.       On information and belief, Defendant has intentionally copied the Registered

Vibes Logo in order to improperly and unfairly trade on the substantial goodwill that Plaintiff

has achieved through its marketing efforts and years of customer satisfaction.

        31.       On information and belief, Defendant had actual knowledge of the existence of

Plaintiff’s Registered Vibes Logo and trademark rights in same before Defendant first began

offering its Vibes perfume.

        32.       At no time has Vibes authorized Defendant to use the Registered Vibes Logo or

any facsimile of the Registered Vibes Logo.

                                        COUNT I
                          FEDERAL TRADEMARK INFRINGEMENT
                                    (15 U.S.C. § 1114)

        33.       Plaintiff incorporates by reference Paragraphs 1 - 32 above as if restated herein in

their entirety.

        34.       Defendant had actual or constructive knowledge of Vibes’ rights in its federally-

registered Registered Vibes Logo that is the subject of the Vibes Registration at least as early as

the date of its registration, June 18, 2013.

        35.       The Vibes Registration is incontestable.

        36.       Defendant is using, in commerce, a reproduction or copy of Plaintiff’s Registered

Vibes Logo at a minimum by advertising, marketing, offering for sale, and selling its Vibes

perfume in the Infringing Bottle.

        37.       Defendant is using, in commerce, a reproduction or copy of Plaintiff’s Registered

Vibes Logo by advertising, marketing, offering for sale, and selling its Vibes perfume in

connection with the Infringing Logo, including by displaying the Infringing Logo in promotional




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posts on Instagram and Twitter, and by affixing the Infringing Logo to the box in which the

Vibes perfume is sold.

        38.    Plaintiff has neither consented to nor authorized Defendant’s use of the

Registered Vibes Logo, the Infringing Bottle, or the Infringing Logo.

        39.    Defendant’s use of the Infringing Bottle is likely to cause confusion, mistake, or

deception as to the source, sponsorship, or approval of the Vibes perfume.

        40.    The Infringing Bottle is confusingly similar to the Registered Vibes Logo that is

the subject of the Vibes Registration.

        41.    Defendant’s use of the Infringing Logo is likely to cause confusion, mistake, or

deception as to the source, sponsorship, or approval of the Vibes perfume.

        42.    The Infringing Logo is confusingly similar to the Registered Vibes Logo that is

the subject of the Vibes Registration.

        43.    Defendant’s use of the Infringing Logo and/or Bottle is likely to lead consumers

to be confused as to the source, sponsorship, or approval of Plaintiff’s services (i.e., Defendant’s

use of the Infringing Logo and/or Infringing Bottle is likely to cause reverse confusion in

violation of the Lanham Act).

        44.    Defendant’s unauthorized use of the Infringing Logo and/or Infringing Bottle

constitutes a violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114(a).

        45.    The intentional nature of Defendant’s unauthorized use of the Infringing Logo

and/or Infringing Bottle renders this an exceptional case under 15 U.S.C. § 1117(a), justifying

the imposition of treble damages and the award of Vibes’ fees and costs associated with bringing

this action.




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        46.       As a result of Defendant’s above-outlined conduct, Vibes has suffered and

continues to suffer substantial damage and irreparable harm constituting an injury for which

Vibes has no adequate remedy at law. In particular, Vibes will continue to suffer irreparable

harm unless this Court enjoins Defendant’s conduct.           Specifically, such irreparable harm

includes, but is not limited to, reputational harm amongst Vibes’ actual and potential customers,

and erosion of market share.

                                    COUNT II
              UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN
                               (15 U.S.C. § 1125(a))

        47.       Plaintiff incorporates by reference Paragraphs 1 - 46 above as if restated here in

their entirety.

        48.       Defendant had actual or constructive knowledge of Vibes’ rights in its federally-

registered Registered Vibes Logo that is the subject of the Vibes Registration at least as early as

the date of its registration, June 18, 2013.

        49.       Plaintiff has neither consented to nor authorized Defendant’s use of the

Registered Vibes Logo, the Infringing Bottle, or the Infringing Logo.

        50.       Defendant’s use of the Infringing Bottle is likely to cause confusion, mistake, or

deception as to the source, sponsorship, or approval of the Vibes perfume.

        51.       The Infringing Bottle is confusingly similar to the Registered Vibes Logo that is

the subject of the Vibes Registration.

        52.       Defendant’s use of the Infringing Logo is likely to cause confusion, mistake, or

deception as to the source, sponsorship, or approval of the Vibes perfume.

        53.       The Infringing Logo is confusingly similar to the Registered Vibes Logo that is

the subject of the Vibes Registration.




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        54.       Defendant’s use of the Infringing Logo and/or Bottle is likely to lead consumers

to be confused as to the source, sponsorship, or approval of Plaintiff’s services (i.e., Defendant’s

use of the Infringing Logo and/or Infringing Bottle is likely to cause reverse confusion in

violation of the Lanham Act).

        55.       Defendant’s unauthorized use of the Infringing Logo and/or Infringing Bottle

constitutes a violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125(a)(1).

        56.       The intentional nature of Defendant’s unauthorized use of the Infringing Logo

and/or Infringing Bottle renders this an exceptional case under 15 U.S.C. § 1117(a), justifying

the imposition of treble damages and the award of Vibes’ fees and costs associated with bringing

this action.

        57.       As a result of Defendant’s above-outlined conduct, Vibes has suffered and

continues to suffer substantial damage and irreparable harm constituting an injury for which

Vibes has no adequate remedy at law. In particular, Vibes will continue to suffer irreparable

harm unless this Court enjoins Defendant’s conduct.           Specifically, such irreparable harm

includes, but is not limited to, reputational harm amongst Vibes’ actual and potential customers,

and erosion of market share.

                                    COUNT III
                     ILLINOIS COMMON LAW UNFAIR COMPETITION

        58.       Plaintiff incorporates by reference Paragraphs 1 - 57 above as if restated here in

their entirety.

        59.       By using the Infringing Bottle and/or Infringing Logo to promote, market, and/or

sell its products, Defendant is acting with the purpose and intent of deceiving consumers into

believing that Defendant’s Vibes perfume is made by Plaintiff or is affiliated with or approved

by Plaintiff.



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       60.     By using the Infringing Bottle and/or Infringing Logo to promote, market, and/or

sell its products, Defendant intends to harm and is harming Plaintiff’s business.

       61.     As a result of Defendant’s unfairly competitive activities, Plaintiff has been

damaged and will continue to be damaged unless Defendant is enjoined from using the

Infringing Bottle and Infringing Logo.

       62.     Plaintiff is entitled to recover money damages to compensate for Defendant’s

unfair conduct.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Vibes Media, LLC respectfully seeks the following relief

against Defendant KKW Fragrance, LLC:

       A.      Judgment that Defendant’s conduct violates Plaintiff’s federal trademark rights, in
       violation of 15 U.S.C. § 1114.

       B.      Judgment that Defendant’s conduct constitutes federal unfair competition in
       violation of 15 U.S.C. § 1125(a).

       C.   Judgment that Defendant’s conduct constitutes unfair competition under Illinois
       common law.

       D.      Damages in an amount to be proven at trial, in the form of disgorgement of
       Defendant’s profits, actual damages suffered by Plaintiff, and compensation for
       corrective advertising.

       E.     Treble damages as a result of the willful nature of Defendant’s conduct, in
       accordance with 15 U.S.C. § 1117.

       F.     Plaintiff’s attorneys’ fees incurred in bringing this action, in accordance with 15
       U.S.C. § 1117.

       G.      A preliminary and permanent injunction enjoining, restraining and ordering
       Defendant, and its officers, agents, servants, attorneys, and other persons who are in
       active concert or participation with it:

               1.     To cease using, selling, offering for sale, holding for sale, advertising, or
               promoting any goods or services under or in connection with any trade name,
               trademark, service mark, or Internet domain name that is comprised in whole or in



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              part of the Infringing Logo, the Registered Vibes Logo, or any other term, logo, or
              design confusingly similar to the Registered Vibes Logo.

              2.    To cease using, selling, offering for sale, holding for sale, advertising, or
              promoting any goods or services in connection with the Infringing Bottle.

              3.     To deliver to Plaintiff or destroy all inventory, literature, advertisements,
              and other materials displaying the Infringing Logo, the Registered Vibes Logo, or
              any other term, logo, or design confusingly similar to the Registered Vibes Logo.

              4.      To deliver to Plaintiff or destroy all inventory of the Infringing Bottle as
              well as all literature, advertisements, and other materials displaying the Infringing
              Bottle.

      H.      Pre-judgment and post-judgment interest.

      I.      Any and all other relief as this Court may deem just and proper.

                                        JURY DEMAND

      Plaintiff demands a trial by jury as to all issues so triable.

DATED: July 18, 2018                                          Respectfully submitted by,



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